Case 2:19-cr-00877-CCC Document 36-4 Filed 01/31/20 Page 1 of 2 PageID: 482




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 Case 2:19-cr-00877-CCC Document 36-4 Filed 01/31/20 Page 2 of 2 PageID: 483




                                   MATTHEW GOETTSCHE
                                     2650 Lawrence Court
                                     Lafayette, CO. 80026


                                        December I2, 2019



VIA ELECTRONIC MAIL
The Citizenship by Investment Unit
Office of the Prime Minister
1st Floor, Ministry of Finance Building
P 0. Box 597, Golden Rock, St. Kitts, West Indies

       RE: Matthew Goettsche's Application for Citizenship

To Whom it May Concern:

        I have previously applied for citizenship in St. Kitt's. l have not completed the
application process.

        The purpose of this letter is to inform you that Tam withdrawing my application for
citizenship, and asking that you take no fu11her action with respect to processing or reviewing my
application.

       If you have any questions, please contact my attorney Patrick Ridley at (303) 629-9700.


                                                      Sincerely,


                                                           �
                                                     �ew Goettsche
                                                                       �        s:
